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                      UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF GEORGIA
                         BRUNSWICK DIVISION


UNITED STATES OF AMERICA


V.                                                   CR 218-14


JOHN EUGENE OVERCASH




                               PLEA AGREEMENT


      Defendant, John E. Overcash, represented by his counsel Ronald Harrison, II,

a-.sq., and the United States of America, represented by Assistant United Statvo

Attorneys Matthew A. Josephson and E. Greg Gilluly, have reached a plea agreement

in this case. The terms and conditions of that agreement are as follows.

1.    Guilty Plea


      Defendant agrees to enter a plea of guilty to the following Counts:

      Count One of the Indictment charging him with Conspiracy to Possess with

Intent to Distribute and to Distribute 5 Kilograms or More of Cocaine, and a Quantity

of Marijuana, in violation of Title 21, United States Code 846.

      Count Twenty-Four of the Indictment charging him with being a Felon in

Possession of a Firearm,in violation ofTitle 18, United States Code, Section 922(g)(1).

At sentencing, the government will move to dismiss all remaining counts against

Defendant.
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2-      Elements and Factual Basis


        The elements necessary to prove the offenses are as follows:

      COUNT ONE (Conspiracy to Possess 5 Kilograms or More of Cocaine and a
Quantity of Marijuana with Intent to Distribute)

        FIRST:      That two or more people in some way agreed to try to accomplish
                    a shared and unlawful plan to possess 5 kilograms or more of
                    cocaine, a schedule II controlled substance, and a quantity of
                    marijuana, a schedule I controlled substance;

        SECOND:      That the defendant knew the unlawful purpose of the plan and
                     willfully joined in it; and

        THIRD:      That the object ofthe unlawful plan was to possess with the intent
                    to distribute and to distribute " kilograms or more of cocaine and
                    a quantity of marijuana.

        COUNT TWENTY-FOUR (Felon in Possession of a Firearm)

        FIRST:      That the defendant knowingly possessed at least one firearm in
                    or affecting interstate or foreign commerce; and

        SECOND:     before possession the firearm(s), the defendant had been
                    convicted of a felony- a crime punishable by imprisonment for
                     more than one year.

        Defendant agrees that he is, in fact, guilty of this offense. He agrees to the

accuracy of the following facts, which satisfy each of the offense's required elements:

        Beginning on a date at least as early as December 19, 2016, and continuing up

to and including March 2018, the precise dates being unknown, in Glynn and

Mclntosh Counties, within the Southern District of Georgia, and elsewhere, the

defendant, John E. Overcash, aided and abetted by others known and unknown,

including Andrew Jackson, with some joining the conspiracy earlier and others

joining later, did knowingly and intentionally combine, conspire, confederate and

agree with others, known and unknown, to possess with intent to distribute and to
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distribute 5 kilograms or more of cocaine, a schedule II controlled substance, and a

quantity of marijuana, all in violation of Title 21, United States Code, Sections

841(a)(1) and 846. On August 29, 2017, in Glynn County, the defendant knowingly
                                                                  1



and intentionally possessed more than 5 kilograms of cocaine and a quantity of

marijuana with intent to distribute, in violation of Title 21, United States Code,

Section 841(a)(1). On August 29, 2017, in Glynn County, the defendant, a previously

convicted felon, knowingly possessed the firearms and ammunition outlined in Count

Twenty-Four of the Indictment, in violation of Title 18, United States Code, Section

922(g)(1). Furthermore, Mr. Overcash agrees that as part ofthe conspiracy, he stored

controlled substances at Richard Carter's residence located at 1199 West Shore Drive


in Glynn County. At that same location, as a felon, he also stored firearms,including

firearms listed in the indictment. At least one firearm was possessed in furtherance

of a felony. He worked extensively with Kenneth Leon Bradley, a co-conspirator, who

worked for Overcash. The conspiracy involved at least 5 other conspirators, and Mr.

Overcash directed at least one member of the conspiracy.

3.    Possible Sentence


      Count One


      -not less than 10 years of incarceration; and not more than life in prison;
      -not more than a $10,000,000 fine;
      -not less than 5 years of supervised release; and
      -$100 mandatoiy special assessment.

      Count Twentv-Four
      -not more than 10 years of incarceration;
      -not more than a $250,000 fine;
      -not more than 3 years of supervised release; and
      -$100 mandatory special assessment.
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4.    No Promised Sentence


      No one has promised Defendant that the Court will impose any particular

sentence or a sentence within any particular range. The Court is not bound by any

estimate of sentence given or recommendations made by Defendant's counsel, the

government, the U.S. Probation Office, or anyone else. The Court may impose a

sentence up to the statutory maximum. Defendant will not be allowed to withdraw

his plea of guilty if he receives a more severe sentence than he expects.

5.    Court's Use of Guidelines


      The Court is oh]igated to use the United States Sentencing Guidelines to

calculate the applicable guidehne range for Defendant's offense and to consider that

range, possible departures under the Sentencing Guidelines, and other sentencing

factors under 18 U.S.C. § 3553(a), in determining his sentence. The Sentencing

Guidelines are advisory; the Court is not required to impose a sentence within the

range those Guidehnes suggest. The Sentencing Guidelines are based on all of

Defendant's relevant conduct, pursuant to U.S.S.G. § IB 1.3, not just the facts

underlying the particular Count to which Defendant is pleading guilty.

6.    Agreements Regardinsf Sentencing Guidelines

      a.     Acceptance of Resnonsibilitv


      The government will not object to a recommendation by the U.S. Probation

Office that Defendant receive a two-level reduction in offense level for acceptance of

responsibility pursuant to Section 3E 1.1(a) of the Sentencing Guidelines. If the U.S.

Probation Office makes that recommendation, and Defendant's offense level is 16 or
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greater prior to any reduction for acceptance of responsibility, the government will

move for an additional one-level reduction in offense level pursuant to Section

3E 1.1(b) based on Defendant's timely notification of his intention to enter a guilty

plea.

        b.    Use of Information


        The government is free to provide full and accurate information to the Court

and U.S. Probation Office for use in calculating the applicable Sentencing Guidelines

range. Assuming his cooperation is truthful and the defendant complies with the

terms of this plea agreement, any incriminating information provided by the

defendant during his cooperation will not be used in determining the applicable

Guidelines range, pursuant to U.S.S.G. § IB 1.8.

        c.    Recommended Drug Quantitv


        The parties agree to jointly recommend that the defendant's drug quantity for

purposes ofcalculating the base offense level under 2D 1.1 is more than five kilograms

but less than 15 kilograms of cocaine.

7.      Dismissal of Other Counts


        At sentencing, the government will move to dismiss any other Counts of the

Indictment that remain pending against Defendant.

8.      21 U.S.C. S 851 Enhancement


        The government agrees to dismiss the Title 21, Section 851, enhancement

against the defendant.
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9.    Cooperation


      a.      Complete and Truthful Cooperation Reouired


      Defendant must provide full, complete, candid, and truthful cooperation in the

investigation and prosecution of the offenses charged in his Indictment and any

related offenses. Defendant shall fully and truthfully disclose his knowledge of those

offenses and shall fully and truthfully answer any question put to him by law

enforcement officers about those offenses.


      This agreement does not require Defendant to "make a case" against any

particular person. His benefits under this agreement are conditioned only on his

cooperation and truthfulness, not on the outcome of any trial, grand jury, or other

proceeding.

      b.      Motion for Reduction in Sentence Based on Cooperation

      The government, in its sole discretion, will decide whether Defendant's

cooperation qualifies as "substantial assistance" pursuant to U.S.S.G.§ 5K1.1 or Fed.

R. Crim. P. 35 and thereby warrants the fifing of a motion for downward departure

or reduction in Defendant's sentence. If such a motion is filed, the Court, in its sole

discretion, will decide whether, and to what extent. Defendant's sentence should be

reduced. The Court is not required to accept any recommendation by the government

that the Defendant's sentence be reduced.
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10.   Financial Obligations and Agreements


      a.     Restitution


      The amount ofrestitution ordered by the Court shall include restitution for the

full loss caused by Defendant's total criminal conduct. Restitution is not Hmited to

the specific counts to which Defendant is pleading guilty. Any restitution judgment

is intended to and will survive Defendant, notwithstanding the abatement of any

underlying criminal conviction.

      b.     Special Assessment


      Defendant agrees to pay a special assessment in the amount of $100 (per

count), payable to the Clerk of the United States District Court, which shall be due

immediately at the time of sentencing.

      c.     Required Financial Disclosures


      By the date that Defendant enters a guilty plea. Defendant shall complete a

financial disclosure form listing all his assets and financial interests, whether held

directly or indirectly, solely or jointly, in his name or in the name of another.

Defendant shall sign the financial disclosure form under penalty of perjury and

provide that form to the Financial Litigation Unit of the United States Attorney's

Office and to the United States Probation Office. Defendant authorizes the United

States to obtain credit reports on Defendant and to share the contents ofthose reports

with the Court and the United States Probation Office. Defendant also authorizes

the United States Attorney's Office to inspect and copy all financial documents and

information held by the United States Probation Office.
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        d.    Financial Examination


        Defendant will submit to an examination under oath on the issue of his


financial disclosures and assets if deemed necessary by the United States. Such

examination will occur not later than 30 days after the entry of Defendant's guilty

plea.

        e.    No Transfer of Assets


        Defendant certifies that he has made no transfer of assets in contemplations

of this prosecution for the purpose of evading or defeating financial obligations

created by this Agreement or that may be imposed upon him by the Court at

sentencing. Defendant promises that he will make no such transfers in the future.

        f.    Material Change in Circumstances


        Defendant agrees to notify the United States of any material change in

circumstances, as described in 18 U.S.C. § 3664(k), that occurs prior to sentencing in

this case. Such notification will be made within seven days of the event giving rise

to the changed circumstances, and in no event later than the date of sentencing.

        g.    Enforcement

        Any payment schedule imposed by the Court is without prejudice to the United

States to take all actions and remedies available to it to collect the full amount of the

financial obligations imposed by the judgment of the Court in this case. Defendant

understands and agrees that the financial obligations imposed by the judgment ofthe

Court in this case will be placed on the Treasuiy Offset Program so that any federal
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payment that Defendant receives may be offset and applied to the judgment debt

without regard to or affecting any payment schedule imposed by the Court.

11.   Forfeiture


      a.     The defendant agrees to waive and abandon all rights to property seized

in this case ("subject property")-   Further, he agrees to the forfeiture provision

outlined in the indictment. He agrees to forfeit his interest in all vehicles used to

facilitate his drug trafficking, including the Burgundy Ford F 150, the 2005 White

Chevrolet Truck, all firearms and ammunition seized in this case and outlined in

Count Twenty-Four of the Indictment, including the Savage .270 caliber rifle, SN

F789469, Savage 30-06, SN F14941, Ruger .223, SN 196-04734, Savage .22, SN

El42602, Henry .22 Caliber, SN 030036, Winchester 12 gauge shotgun, SN

L2450612, Berretta 20 gauge shotgun, SN L2450612, Springfield Armory .30 caliber

rifle. Assorted Ammo; and agrees to forfeit all cash seized in this case, including the

$2207 found in his wallet, the $35,028 found in the dryer at 1199 West Shore Drive,

the $15,478 found in the Master Bedroom closet floor and the $7,494 found on the top

shelf in the closet, located at 540 Blythe Island Drive, Brunswick GA.

      b.     Defendant agrees to take all steps requested by the United States to

facilitate transfer of title of the Subject Property to the United States, including but

not limited to the signing of a consent order or decree, a stipulation offacts regarding

the transfer and basis for the forfeiture, and any other documents necessary to

effectuate such transfer. Defendant further agrees not to file any claim, answer, or

petition for remission or restitution in any administrative or judicial proceeding
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pertaining to the Subject Property. If any such a document has already been filed,

Defendant hereby withdraws that filing.

      c.     Defendant waives and abandons all right, title, and interest in the

Subject Property. In addition. Defendant waives and abandons his interest in any

other property that may have been seized in connection with this case.

      d.     Defendant agrees to hold the United States and its agents and

employees harmless firom any claims made in connection with the seizure, forfeiture,

or disposal of property connected to this case. Defendant further agrees to waive the

requirements of the Federal Pules of Criminal Procedure 32.2 and 43(a) regarding

notice of the forfeiture in the charging instrument, announcement ofthe forfeiture at

sentencing, and incorporation of the forfeiture in the judgment.             Defendant

acknowledges that he understands that the forfeiture of assets is part ofthe sentence

that may be imposed in this case and waives any failure by the Court to advise him

of this pursuant to Rule ll(b)(l)(J), at the time his guilty plea is accepted.

      e.     Defendant agrees to waive any and all constitutional, statutory, and

equitable challenges on any grounds to the seizure, forfeiture, and disposal of any

property seized in this case. Defendant specifically agrees to waive any claims,

defenses or challenges arising under the Double Jeopardy Clause of the Fifth

Amendment and the Excessive Fines Clause of the Eighth Amendment.




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12.   Waivers


      a.     Waiver of Appeal


      Defendant entirely waives his right to a direct appeal of his conviction and

sentence on any ground (including any argument that the statute to which the

defendant is pleading guilty is unconstitutional or that the admitted conduct does not

fall within the scope of the statute). The only exceptions are that the Defendant may

file a direct appeal of his sentence if(1)the court enters a sentence ahove the statutory

maximum,(2) the court enters a sentence above the advisory Sentencing Guidelines

range found to apply hy the court at sentencing; or (3) the Government appeal• the

sentence. Absent those exceptions, Defendant explicitly and irrevocably instructs his

attorney not to file an appeal.

      b.     Waiver of Collateral Attack


      Defendant entirely waives his right to collaterally attack his conviction and

sentence on any ground and by any method, including but not limited to a 28 U.S.C.

§ 2255 motion. The only exception is that Defendant may collaterally attack his

conviction and sentence based on a claim of ineffective assistance of counsel.


       c.    FOIA and Privacv Act Waiver


       Defendant waives all rights, whether asserted directly or through a

representative, to request or receive from any department or agency of the United

States any record pertaining to the investigation or prosecution ofthis case under the

authority of the Freedom of Information Act, 5 U.S.C. § 552, or the Privacy Act of

1974, 5 U.S.C. § 552a, and all subsequent amendments thereto.



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       d.    Fed. R. Crim. P. llCf) and Fed. R. Evid. 410 Waiver

      Rule 11(f) of the Federal Rules of Criminal Procedure and Rule 410 of the

Federal Rules of Evidence ordinarily limit the admissibility of statements made by a

defendant during the course of plea discussions or plea proceedings. Defendant

knowingly and voluntarily waives the protections of these rules. If Defendant fails

to plead guilty, or his plea of guilty is later withdrawn, all of Defendant's statements

in connection with this plea, including this plea agreement, and any leads derived

therefrom, shall be admissible for any and all purposes.

13.   Defendant's Risfhts


       Defendant has the right to be represented by counsel, and if necessary have

the court appoint counsel, at trial and at every other critical stage of the proceeding.

Defendant possesses a number of rights which he will waive by pleading guilty,

including: the right to plead not guilty, or having already so pleaded, to persist in

that plea; the right to a jury trial; and the right at trial to confront and cross-examine

adverse witnesses, to be protected from compelled self-incrimination, to testify and

present evidence, and to compel the attendance of witnesses.

14.    Satisfaction with Counsel


       Defendant has had the benefit of legal counsel in negotiating this agreement.

Defendant beheves that his attorney has represented him faithfully, skillfully, and

dihgently, and he is completely satisfied with the legal advice given and the work

performed by his attorney.




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15.   Breach of Plea Agreement


      Defendant breaches this agreement if, prior to sentencing in his case, he fails

to comply with any of the terms of this agreement, withdraws or attempts to

withdraw his guilty plea, refuses to accept responsibility for his criminal conduct,

obstructs justice, tampers with witnesses or evidence, or commits any new crimes. If

Defendant breaches the plea agreement, the government is released from any

agreement herein regarding the calculation of the advisory Sentencing Guidelines or

the appropriate sentence. Additionally, such a breach by the defendant will he a

breach of his cooperation agreement, thereby allowing the government to use all

otherwise proffer-protected information at sentencing. In addition, the government

may (1) declare the plea agreement null and void,(2) reinstate any counts that may

have been dismissed pursuant to the plea agreement, and/or (3) file new charges

against Defendant that might otherwise be barred by this plea agreement. Defendant

waives any statute-of-limitations or speedy trial defense to prosecutions reinstated

or commenced under this paragraph.

16.   Entire Agreement


      This agreement contains the entire agreement between the government and

Defendant.




                           Signatures on following page



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                                 BOBBY L. CHRISTINE
                                 UNITED STATES ATTORNEY




Date                             Brian T. Rafferty
                                 New York Bar No. 2809440
                                 Chiei Criminal Division



Date                             Matthew AVJ^sepnson
                                 Georgia Bay^o.367216
                                 Assistant Uizited States Attorney


Date                             E. Greg Qilluiy, Jr.
                                 Assistant Ujnted States Attorney
                                 TN Bar. No. 019397




                       Signatures on following page




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       I have read and carefully reviewed this agreement with my attorney. I

understand each provision of this agreement, and I voluntarily agree to it. I hereby

stipulate that the factual basis set out therein is true and accurate in every respect.




i-Vn
Date                                    John Eu^he Overcash, Defendant


       I have fully explained to Defendant all of his rights, and I have carefully

reviewed each and every part of this agreement with him. I believe that he fullj^ and

completely understands it, and that his decision to enter into this agreement is an

informed, intelligent, and voluntary one.



       I^
Date                                   ^ftoilald Harrisd^i, II, Esq.
                                        Defendant's Attorney




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                     UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF GEORGIA
                            BRUNSWICK DIVISION


UNITED STATES OF AMERICA


V.                                                 CR 218-14


JOHN E. OVERCASH


                                     ORDER


      The aforesaid Plea Agreement, having been considered by the Court in

conjunction with the interrogation by the Court of the defendant and the defendant's

attorney at a hearing on the defendant's motion to change his plea and the Court

finding that the plea of guilty is made freely, voluntarily and knowingly, it is

thereupon,

      ORDERED that the plea of guilty by defendant be, and it is, hereby accepted

and the foregoing Plea Agreement be, and it is, hereby ratified and confirmed.




             This        day of




                                       ^UNITED STATES DISTRICT COURT
                                     'HERN DISTRICT OF GEORGIA
